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                                Exhibit
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  MAY 25, 2018




                              United States District Court
                              Southern District of Florida
                                    Miami Division
                             CASE NO. 1:17-CV-60426-UU



        ALEKSEJ GUBAREV, XBT HOLDING S.A., AND WEBZILLA, INC.,
                             PLAINTIFFS,
                                 VS
                   BUZZFEED, INC. AND BEN SMITH,
                            DEFENDANTS



                                      Expert report of
                                     Anthony J. Ferrante
                                     FTI Consulting, Inc.




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  Qualifications
  I am a Senior Managing Director and Global Head of Cybersecurity at FTI Consulting, Inc. (“FTI”). FTI is a
  global firm with over 3,600 professionals in 28 countries worldwide, specializing in forensic accounting,
  corporate restructuring, and litigation support services. The practice I lead at FTI provides expertise in
  cybersecurity resilience, prevention, response, remediation, and recovery services.
  I have more than 15 years of top‐level cybersecurity experience, providing incident response and
  preparedness planning to more than 1,000 private sector and government organizations, including over 175
  Fortune 500 companies and 70 Fortune 100 companies.
  I maintain operational knowledge of more than 60 criminal and national security cyber threat sets and have
  extensive practical expertise researching, designing, developing, and hacking complex technical applications
  and hardware systems.
  Prior to joining FTI, I served as Director for Cyber Incident Response at the U.S. National Security Council at
  the White House where I coordinated U.S. response to unfolding domestic and international cybersecurity
  crises and issues. I led the development and implementation of Presidential Policy Directive 41 – United
  States Cyber Incident Coordination, the U.S. Government’s national policy guiding cyber incident response
  efforts.
  Before joining the National Security Council, I was Chief of Staff of the FBI’s Cyber Division. I joined the FBI
  as a special agent in 2005 and was assigned to the FBI’s New York Field Office. In 2006, I was selected as a
  member of the FBI’s Cyber Action Team, a fly-team of experts who deploy globally to respond to the most
  critical cyber incidents on behalf of the U.S. Government.
  I previously served as an Adjunct Professor of Computer Science at Fordham University’s Graduate School
  of Arts and Sciences, where I served as the founder and co-director of the Master’s of Science in
  Cybersecurity Program in the Graduate School of Arts and Sciences. During my time at Fordham University,
  I served as the co-director of the undergraduate and graduate cybersecurity research program.
  My curriculum vitae is attached to this report as Exhibit 1.




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  Scope of Assignment
  Davis Wright Tremaine LLP (“Counsel” or “DWT”) retained FTI on August 16, 2017, in connection with
  Counsel’s providing privileged and confidential legal advice to Counsel’s clients, BuzzFeed, Inc. and Ben
  Smith, in the matter Aleksej Gubarev, XBT Holding S.A. and Webzilla, Inc. v. BuzzFeed, Inc. and Ben Smith.

  I have prepared this expert report summarizing the investigation of statements in what is often referred to
  as the “Steele Dossier” (“Dossier”) published by BuzzFeed in January 2017.

  This report summarizes the key findings of the technical investigation into Aleksej Gubarev, XBT Holding
  S.A. (“XBT”) and its subsidiaries, including the group of Gubarev web-hosting businesses that carry the
  name Webzilla. 1 FTI investigated the veracity of the Dossier’s statements concerning the plaintiffs, as well
  as the same statements as applied to other subsidiaries of XBT. FTI also investigated information pertaining
  to the reputation, if any, of the plaintiffs, as well as other subsidiaries of XBT, for involvement in malicious
  cyber activity. Specific, high-priority objectives were to determine whether:

      •    Botnets and porn traffic hosted by XBT, Webzilla, and its affiliates facilitated theft of data from
           Democratic Party leadership;
      •    XBT, Webzilla, and their affiliates have a history of engaging in and/or hosting networks used by
           Russian state-sponsored malicious cyber activity; and
      •    XBT, Webzilla, and their affiliates have a history of, and reputation for, engaging in and/or hosting
           networks used for malicious cyber activity.


  The investigation encompasses collection and analysis of information from an extensive range of open-
  source mediums. All sources relied upon in this investigation are cited in this report.
  I may supplement and amend the opinions in this report in response to additional information received or
  to address issues raised by other witnesses.




  1 XBT Holding, S.A. owns a series of companies that share the Webzilla name, both internationally and in the United States.


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  Glossary of Important Terms
                      Term 2                                                           Definition

                                                      A malicious attack campaign in which an intruder, or team of
   Advanced Persistent Threat (APT)                   intruders, establishes an illicit, long-term presence on a
                                                      network in order to mine highly sensitive data.

                                                      Collection of IP blocks under the control of one or more
   Autonomous System (AS)                             network operators, on behalf of a single administrative entity
                                                      or domain.

                                                      A unique identifier assigned to each Autonomous System to
   Autonomous System Number (ASN)                     differentiate between organizations and routing policies;
                                                      analogous to a U.S. ZIP code.

                                                      A computer that has been compromised through a malware
   Bot
                                                      infection and can be controlled remotely by a cybercriminal.

                                                      A network of private computers infected with malicious
   Botnet                                             software and controlled as a group without the owners'
                                                      knowledge, e.g., to send spam messages.

                                                      Centralized machines that are able to send commands and
   Command-and-control server (C&C)
                                                      receive the output of machines that comprise a botnet.

                                                      A Russian hacker group believed to be associated with Russian
                                                      intelligence. Classified as advanced persistent threat (APT) 29.
   COZY BEAR
                                                      Other monikers include Office Monkeys, CozyCar, The Dukes,
                                                      and CozyDuke.

                                                      A cyber espionage group. Classified as advanced persistent
                                                      threat (APT) 28. Multiple security firms have assessed that it is
   FANCY BEAR                                         associated with the Russian military intelligence agency GRU.
                                                      Other monikers include Pawn Storm, Sofacy Group, Sednit and
                                                      STRONTIUM.

   Indicators of Compromise (IOCs)                    Evidence of malicious activity on a system or network.

                                                      An identifier for a computer, server or other machine that is
   IP address
                                                      connected to the Internet, analogous to a postal address.




  2 The glossary contains simplified definitions of technical terms for the benefit of readers unfamiliar with the subject matter.


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                     Term 2                                     Definition

                                     An identifiable range of IP addresses.        Also referred to as
   IP block
                                     “netblock.”

                                     A type of malware that prevents or limits a user from accessing
   Ransomware                        their server, network, computer or device either by locking the
                                     user’s screen or by locking the user’s files until a ransom is paid.

                                     XBT owned provider of Web Hosting, Dedicated Servers,
   Root S.A.
                                     Domain Names and many other Internet-related services.

                                     Program designed to collect email addresses from the Internet
   Spambot
                                     in order to send unsolicited email known as spam.

                                     A technology that establishes a secure session link between the
                                     visitor’s web browser and the destination website so that all
   Secure Socket Layer (SSL)
                                     communications transmitted through this link are encrypted
                                     and are, therefore, secure.

                                     The fraudulent practice of sending emails ostensibly from a
   Spear Phishing                    known or trusted sender in order to induce targeted individuals
                                     to reveal confidential information.

                                     A type of malware that is often disguised as legitimate software
   Trojan                            designed to provide unauthorized, remote access to a user’s
                                     server, network, computer or device.

                                     A protocol for specifying the address of a World Wide Web
   Uniform Resource Locator (URL)
                                     page.

                                     The practice of translating unprintable characters or characters
                                     with special meaning located within URLs to a format
   URL Encoding
                                     representation that is unambiguous and universally recognized
                                     by web browsers and servers.

                                     The first iteration of a web-hosting brand which is now used by
   Webazilla
                                     several subsidiaries of XBT.

                                     The second iteration of the web-hosting brand which is now
   Webzilla                          used by several subsidiaries of XBT, many of which are
                                     successor entities to Webazilla companies.

   WHOIS                             A standard protocol used to identify registered users of an




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                     Term 2                                   Definition

                                     Internet resource, such as a domain name, an IP address, or an
                                     autonomous system.

                                     Trojan malware package often used to steal banking
   ZeuS Malware
                                     information.




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  Executive Summary
  This section summarizes the key findings of the investigation. Additional information for each finding,
  including citations and supporting exhibits, can be found in the Investigative Findings section of this report. 3
      •    Technical evidence suggests that Russian cyber espionage groups used XBT infrastructure to
           support malicious spear phishing campaigns against the Democratic Party leadership which resulted
           in the theft of emails from a senior member of the Hillary Clinton presidential campaign.
      •    Technical evidence suggests that the Russian cyber espionage group that has been linked to the
           Democratic National Committee (DNC) hack has used an XBT-owned IP address in the past.
      •    Data published by U.S Government intelligence agencies suggests that XBT-owned infrastructure
           has been used for Russian military and intelligence intrusions of websites and computer systems for
           U.S. Government agencies, election commissions, think tanks, universities and/or corporations.
      •    Technical evidence suggests that XBT-owned infrastructure has been used to support malicious
           cyber campaigns tied to Russian cyber espionage and Advanced Persistent Threat (APT) actors.
      •    XBT-owned IP addresses have been used to support a number of high-profile malicious schemes
           and cyberattacks on critical infrastructure networks across the globe.
      •    A significant number of XBT-owned IP addresses were used to support the operation of a digital ad
           fraud scheme executed by Russian cybercriminals that was used to siphon millions of advertising
           dollars away from U.S. media companies.
      •    Depositions of key XBT executives and a review of communications produced show that XBT does
           not have an adequate enterprise infrastructure monitoring process in place or a formally defined
           procedure to investigate abuse notifications, which allows their infrastructure to be used without
           fear of repercussions.
      •    Public records research identified credible sources naming XBT affiliates as being involved in
           adverse, malicious or criminal cyber activity.




  3 The phrases “announced IP address,” “owned IP address,” “originated IP address,” and “leased IP address” can be used
  interchangeably. XBT personnel are responsible for originating the IP address for the purposes of connecting to the Internet.


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  Methodology
  Technical Investigation
  FTI’s investigation into XBT infrastructure and cyber activity is based on a three-step approach:
      1) Use third-party tools to identify all publicly available IP addresses and infrastructure that are hosted
         by XBT subsidiaries;
      2) Compare the infrastructure hosted by XBT to government and private security firm threat
         intelligence repositories of IP addresses, domains, and malware samples known to propagate
         malicious cyber activity; and 4
      3) Review and investigate all matches to determine the type and nature of malicious activity or ties to
         the hack of Democratic Party leadership and other interference in the 2016 U.S. election.




  FTI’s methodology is further detailed throughout this report.




  4 Threat intelligence data used in our report comes from the various private security firms and government agencies referenced
  throughout the report. All firms are reputable within the security industry.


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  Investigative Findings
  Background and Approach
  XBT’s primary business is providing web-hosting and network solutions for its customers. XBT subsidiaries
  lease data centers and infrastructure in various geographic locations, including the U.S., Europe, and Asia.
  For important context on the investigation of malicious cyber activity, FTI highlights the following three key
  technical concepts for Hosting ISPs:
      •    Internet Protocol Addresses (“IP”)

      •    Autonomous Systems (“AS”)
      •    Autonomous System Numbers (“ASN”)
  In understanding these concepts, it can be useful to think of the Internet in terms of old-fashioned mail
  delivery. IP addresses are unique numbers assigned to all individual parts of the Internet – the lines of
  communication over which online information flows. IP addresses, then, represent a kind of physical
  mailing address that identifies the location of specific websites, computers, or other machines attached to
  the Internet. Autonomous Systems are the backbone of the Internet because they contain collections of IP
  addresses under the control of an entity that presents clearly defined gateways to the Internet.
  Autonomous System Numbers are unique identifiers for each Autonomous System and, in turn, are
  analogous to a ZIP code that helps Autonomous Systems route information to the proper IP addresses
  across the Internet.
  Understanding this Internet routing system allows investigators to map data flow on the Internet – from
  specific IP addresses, associated with an Autonomous System Number, and originating from an identifiable
  Autonomous System. XBT subsidiary entities are assigned a unique and officially registered Autonomous
  System Number – their own, specific ZIP code. These ASNs are important from an investigative standpoint
  because they allow investigators to identify the exact originating networks for IP addresses. Hence, when
  malicious Internet activity is identified, investigators can link that activity and its IP address, to an ASN, and
  through that number to the assigned Autonomous System of the offending IP address. 5




  5 Threat intelligence reports and repositories are created by various private security firms and government agencies to track
  sources, metadata and organizations behind malicious cyber campaigns. These reports and repositories contain listings of
  Indicators of Compromise (“IOCs”) associated with malicious cyber activity. IOCs can include the domain, underlying IP address,
  malware sample hash or other identifying technical component. Cybersecurity experts, including myself, regularly rely on this
  information in our work.


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                     The image above illustrates how Autonomous Systems support the Internet.

  Overview of ASN Infrastructure
  FTI uses third-party solutions Shodan and RipeStat to identify the ASNs and IP addresses owned by a given
  entity, based on the registered domain. 6 7 FTI’s analysis indicates that XBT infrastructure hosts 782 distinct
  IP prefixes and up to 1,418,783 IP addresses. 8 9 These IP addresses are linked to 12 Autonomous Server
  Numbers owned by XBT and its subsidiary entities: 10 11

     ASN                                                                     # of Distinct                    # of Distinct
                         XBT - Owned Companies
      ID                                                                      IP Prefixes                    IP Addresses
    7979      Servers.com, Inc.                                                                134                       724,992
    40824 WZ Communications, Inc.                                                              231                        362,496
    5577      Root S.A.                                                                          82                       156,416
    35415 Webzilla B.V.                                                                        216                        132,102
    45470 8-to-infinity Pte Ltd (Webzilla Singapore)                                             28                          8,960
    48792 Webazilla B.V.                                                                          1                          8,192
    39134 Edinaya Set                                                                            37                          6,937




  6 Shodan “crawls” the Internet for publicly accessible devices, including Web servers. From a technical perspective, the tool scans
  the Internet for all publicly available servers and probes each port on that server to see what, if any, service is running.
  7 The RIPE NCC collects and stores Internet routing data from locations around the globe, using the Routing Information Service
  established in 2001. RIS data can be accessed via stat.ripe.net, a repository on current and historical Internet number resources.
  8 The number of active IP addresses as of January 10, 2018. The metrics include active and historical IP information.
  9 All prefixes that were ever announced on an XBT affiliated ASN were captured in the review.
  10 Refer to Exhibit 2.
  11 All XBT-owned companies are listed on the XBT Holding SA-2016 Consolidated.pdf, page 11 (P-G000390).


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     ASN                                                                     # of Distinct                   # of Distinct
                    XBT - Owned Companies
      ID                                                                      IP Prefixes                   IP Addresses
    46786 IP Transit Inc.                                                                       21                         6,656
    40431 Travail Systems                                                                       19                          6,400
    58909 IBEE Software Solutions Ltd                                                            3                          3,072
    7177  DFW Internet Services, Inc.                                                            9                          2,304
    61107 Universal CDN                                                                          1                            256


  The number of active IP addresses available within an individual ASN can change frequently.
  Administrators from web-hosting companies can originate (i.e. “announce”) or withdraw IPs within a given
  ASN – effectively turning the IP addresses on or off – by altering the configurations on what are called
  gateway routers. Throughout this investigation, FTI leveraged Shodan and RipeStat to update the listing of
  all IP addresses affiliated with Autonomous System Numbers owned by XBT and to review relevant
  historical information. These IP addresses are the base dataset tested against threat intelligence sources to
  identify malicious activity tied to XBT. FTI further investigated matches by using WHOIS to determine the
  entity or individual that registered the IP address. 12 For historical analysis, RipeStat was used to validate
  the ASN where an IP was announced at a specific point in time.


  The Democratic Party Hacks
  FTI investigated whether it could find any technical connections between XBT and the allegations made in
  the Dossier about XBT and its affiliates, including Webzilla, by analyzing technical data published by
  government agencies, third party security firms or produced in response to a subpoena request. The
  Dossier states:
  “a company called XBT/Webzilla and its affiliates had been using botnets and porn traffic to transmit
  viruses, plant bugs, steal data and conduct “‘altering operations”’ against the Democratic Party leadership.
  Entities linked to one Aleksej GUBAROV were involved and he and another hacking expert, both recruited
  under duress by the FSB, Seva KAPSUGOVICH, were significant players in this operation.” 13
  The private security firm CrowdStrike was contracted by the DNC to investigate the hack on its
  infrastructure. 14 In June 2016, CrowdStrike published an analysis, “Bears in the Midst: Intrusion into the
  Democratic National Committee,” that included indicators of compromise (IOCs) and technical information
  on how Russian cyber espionage groups COZY BEAR (also known as APT29) and FANCY BEAR (also known as
  APT28) infiltrated the DNC network. According to the CrowdStrike report, both of these actors engage in
  extensive political and economic espionage for the benefit of the government of the Russian Federation
  and are believed to be closely linked to the Russian government’s intelligence services. The report also




  12 WHOIS is a query and response protocol that is widely used for querying public databases that store the registered users or
  assignees of an Internet resource, such as a domain name, an IP address block, or an autonomous system. FTI uses
  https://centralops.net/co/domaindossier.aspx to review IP registration data.
  13 https://www.documentcloud.org/documents/3259984-Trump-Intelligence-Allegations.html
  14 CrowdStrike, Inc. is an American cybersecurity technology and threat intelligence company based in Sunnyvale, California.


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  states that FANCY BEAR frequently registers domains that closely resemble legitimate companies and then
  establishes fake websites on these domains that spoof the look and feel of the victim’s email in order to
  steal their credentials. 15
  Another component of the Democratic Party hack was a malicious spear phishing attack launched against
  the Hillary Clinton presidential campaign and Democratic Party leadership. The attack was launched by
  FANCY BEAR starting in March 2016 and continued through at least April 2016. Emails designed to look like
  they came from Google, the company that provided the Clinton campaign’s email infrastructure, were sent
  to campaign staff with ‘@hillaryclinton.com’ email addresses. The email messages requested users to
  enhance their security or change their passwords by clicking on a URL embedded in the phishing email.
  When users clicked on the embedded URL it launched a fake website designed to collect their email
  username and password (i.e., user credentials). The spear phishing attack used a service called Bitly to
  shorten the length of and thereby disguise malicious URLs embedded in phishing emails. 16 17


  The Bitly Link
  Technical evidence suggests that FANCY BEAR used XBT infrastructure to support malicious spear
  phishing campaigns against the Democratic Party leadership. Based on documents published by
  WikiLeaks, on March 19, 2016 an email was sent to Clinton campaign manager John Podesta, requesting
  that he change his email password by clicking on an embedded icon that read, “Change Password.” The
  icon was actually a bitlink (https://bit[.]ly/1PibSU0) which, when clicked, launched a fake website
  apparently designed to look like a Google security page requesting the user enter their user credentials. 18
  The WikiLeaks posting stated that Podesta clicked on the bitlink and entered his user credentials. At that
  point, FANCY BEAR had access to Podesta’s emails. 19 20
  Documents produced by Bitly in response to a subpoena show that the company conducted an internal
  investigation of how Bitly was used in the spear phishing attack of the DNC and Democratic Party
  leadership. 21 Bitly’s investigation found that the account ‘john356gh’ was used to create the bitlink
  embedded in the phishing email sent to John Podesta. Further review showed that the account created
  11,139 bitlinks from 10/20/2015 through 6/30/2016 using 41 distinct IP addresses. Bitly’s analysis of the
  underlying URLs disguised by the shortened bitlinks showed that six URLs contained “dnc.org” and 95
  contained “hillaryclinton.com,” which indicates the spear phishing was targeting individuals across the
  Democratic Party. 22




  15 https://www.crowdstrike.com/blog/bears-midst-intrusion-democratic-national-committee/ (Exhibit 3)
  16 https://www.apnews.com/dea73efc01594839957c3c9a6c962b8a
  17 Bitly is a tool that allows users to shorten website addresses (URLs) and is primarily used for social media and marketing
  campaigns. It has been used by cybercriminals to disguise malicious URLs.
  18 Links created by Bitly are referred to as “bitlinks.”
  19 https://wikileaks.org/podesta-emails/emailid/34899
  20 A spear phishing attack is an email scam targeted towards an individual, organization or business in an attempt to steal
  information or install malware. Email messages are disguised to look like they were sent by a trustworthy entity and entice
  recipients to click on a website link or provide sensitive personal information.
  21 Refer to Exhibit 4.
  22 ibid


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  The URL underlying the bitlink sent to John Podesta’s email contained encoding that, when translated,
  included “John,” “John Podesta,” “John.Podesta@gmail.com,” and a link to a professional photo of John
  Podesta. This link is no longer active and cannot be found in Internet archives, but this encoding provides
  strong technical evidence that it was a phishing (i.e., fake) website apparently designed to look like a real
  Google security page and customized to deceive John Podesta into providing his email credentials. 23
  Bitly produced a system audit log of the 11,139 bitlinks created by john356gh which included the bitlink,
  date created, underlying URL (i.e., website) and the IP address used to create the bitlink. 24 FTI could not
  establish a technical connection between the IP address used to create https://bit[.]ly/1PibSU that John
  Podesta clicked on and XBT. However, using the signatures and data contained in the bitlink that John
  Podesta clicked on, FTI identified three additional phishing websites in the john356gh account audit log
  data designed to look like custom Google security pages for John Podesta. One of those bitlinks was
  created by an IP address owned by Root S.A., 94.242.205[.]147. 25 The table below compares the bitlink
  that was sent in a phishing email and used to steal John Podesta emails (Column A) to a bitlink created by a
  Root S.A. IP address (Column B): 26

        Data                            Column A                                          Column B
      Element
   Bitlink            https://bit[.]ly/1PibSU0                           http://bit[.]ly/22KAIn8
   Underlying         http://myaccount.google.com/ecuritysetti           http://myaccount.google.com-
   URL                ngpage[.]tk/security/signinoptions/passw           0b31hojr8d20uc3rhcnrlcl9mawxl0b31hojr8
                      ord?e=am9obi5wb2Rlc3RhQGdtYWlsLmN                  d20uc3rhcnrlcl9mawxl[.]tk/security/signin
                      vbQ%3D%3D&fn=Sm9obiBQb2Rlc3Rh&n=                   options/password?e=am9obi5wb2Rlc3Rh
                      Sm9obg%3D%3D&img=Ly9saDQuZ29vZ2xl                  QGdtYWlsLmNvbQ%3D%3D&fn=Sm9obiB
                      dXNlcmNvbnRlbnQuY29tLy1RZVlPbHJkVG                 Qb2Rlc3Rh&n=Sm9obg%3D%3D&img=Ly9
                      p2WS9BQUFBQUFBQUFBSS9BQUFBQUFB                     saDQuZ29vZ2xldXNlcmNvbnRlbnQuY29tL
                      QUFCTS9CQldVOVQ0bUZUWS9waG90by5                    y1RZVlPbHJkVGp2WS9BQUFBQUFBQUFB
                      qcGc%3D&id=1sutlodlwe                              SS9BQUFBQUFBQUFCTS9CQldVOVQ0bUZ
                                                                         UWS9waG90by5qcGc%3D&id=3le696uvbt
                                                                         &continue=https://myaccount.google.com
   URL
                      •    base64.b64decode(params['n'][0])         = •      base64.b64decode(params['n'][0])    =
   Encoding
                           'John'                                            'John'
                      •    base64.b64decode(params['fn'][0])        = •      base64.b64decode(params['fn'][0])   =
                           'John Podesta'                                    'John Podesta'
                      •    base64.b64decode(params['e'][0])         = •      base64.b64decode(params['e'][0])    =
                           'john.podesta@gmail.com'                          'john.podesta@gmail.com'
                      •    base64.b64decode(params['img'][0]) = •            base64.b64decode(params['img'][0]) =
                           '//lh4.googleusercontent.com/-                    '//lh4.googleusercontent.com/-
                           QeYOlrdTjvY/AAAAAAAAAAI/AAAAAAA                   QeYOlrdTjvY/AAAAAAAAAAI/AAAAAAA




  23 ibid
  24 Refer to Exhibit 5.
  25 https://stat.ripe.net/widget/routing-history#w.resource=94.242.205.147
  26 CONFIDENTIAL-BITLY_00032_john356gh_audit_bitlink_history_alternate.csv, row 7246


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        Data                                Column A                                                 Column B
      Element
                            AABM/BBWU9T4mFTY/photo.jpg'                              AABM/BBWU9T4mFTY/photo.jpg'




   IP Address          85.17.82[.]165 (Leaseweb)                                94.242.205[.]147 (Root S.A.)
   Date Created        2016-03-19                                               2016-04-19


  The underlying URLs share the same phishing signatures, both appear to be fake google websites that
  abuse Open Authentication (OAuth). 27 These are phishing signatures are attributed to Fancy Bear based on
  an April 2017 report published by security firm Trend Micro. 28 29 30 Additionally, the URL encoded values in
  the table above suggest that the fake website was designed specifically for John Podesta in order to steal
  information from him. Based on information currently available, FTI cannot definitively state that the
  bitlink created using the Root S.A. IP address was ever sent to or received by John Podesta. However, these
  technical indicators show that the phishing URL underlying the abovementioned bitlink was created with
  the intent to steal John Podesta’s email credentials as part of the cyber operations launched against the
  DNC and Democratic Party leadership.


  Additional Technical Connections
  Technical evidence suggests that FANCY BEAR may have used an IP address owned by XBT subsidiary,
  Root S.A., in the past. The CrowdStrike report included seven command-and-control (C&C) IP addresses
  and five malware hashes (i.e., malicious software programs) as the IOCs in the DNC hack. FTI reviewed the
  IP registration information for the seven C&C IP addresses but none were affiliated with XBT. Similarly, FTI
  was not able to identify a direct technical connection to XBT infrastructure based on an analysis of the five
  malware samples. However, FTI found an indirect link between FANCY BEAR and XBT infrastructure
  through a Secure Socket Layer (SSL) certificate used by two of the C&C IPs listed in the CrowdStrike
  IOCs. 31
  SSL certificates are used for authentication and data encryption. Administrators for web servers will create
  SSL certificates and distribute those certificates to other servers or Internet devices that they trust to
  communicate with it. Two IP addresses listed in the CrowdStrike IOCs use the same SSL certificate which




  27 OAuth (Open Authorization) is an open standard for token-based authentication and authorization on the Internet.
  28 Refer to Exhibit 28.
  29 Trend Micro Inc. is a Japanese multinational cyber security & defense company founded in Los Angeles, California.
  30 Phishing Signatures are common data points or methods that enable investigators to determine if phishing emails are tied to the
  same attack.
  31 SSL Certificates are small data files that digitally bind a cryptographic key to an organization’s details. When installed on a web
  server, it activates the padlock and the https protocol and allows secure connections from a web server to a browser.


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  suggests that the certificate is controlled by FANCY BEAR. Ownership of SSL certificates cannot be
  transferred; indicating that the SSL certificate used to control the IPs listed in the Crowdstrike report has
  always been controlled by FANCY BEAR. Further review found that the SSL certificate has been distributed
  to 40 other IP addresses and that one of those is owned by Root S.A (94.242.224[.]172). 32 Please refer to
  the image below for additional technical information.




  FTI notes that because this is an indirect link, more data from CrowdStrike and/or the DNC is required to
  determine if XBT infrastructure supported the DNC Hack. 33


  Other U.S. Election Meddling
  Technical evidence suggests that IP addresses owned by Root S.A. were included in the tools and
  infrastructure used by Russian intelligence to interfere in the 2016 U.S. Election. The Department of
  Homeland Security (“DHS”) and Federal Bureau of Investigation (“FBI”) released Joint Analysis Report JAR-
  16-20296A, codenamed “Grizzly Steppe,” in response to Russian interference in the 2016 election. The
  report “provides technical details regarding the tools and infrastructure used by the Russian civilian and
  military intelligence Services (“RIS”) to compromise and exploit networks and endpoints associated with the
  U.S. election, as well as a range of U.S. Government, political, and private sector entities.” 34 The Grizzly
  Steppe report includes IOCs associated with RIS cyber actors. 35
  The findings of the report indicate that two RIS actors participated in the Democratic Party hack. The first
  actor group, COZY BEAR, entered into the party’s systems in the summer of 2015, while the second, FANCY
  BEAR, entered during the spring of 2016. In the past, both groups have targeted government organizations,
  universities, and private corporations around the world.
  FTI identified 13 IP addresses listed in the Grizzly Steppe report that are owned by XBT subsidiary Root S.A.




  32 https://stat.ripe.net/widget/routing-history#w.resource=94.242.224.172
  33 Refer to Exhibit 6.
  34 https://www.us-cert.gov/sites/default/files/publications/JAR_16-20296A_GRIZZLY%20STEPPE-2016-1229.pdf (Exhibit 7).
  35 https://www.us-cert.gov/security-publications/GRIZZLY-STEPPE-Russian-Malicious-Cyber-Activity (Exhibit 7).


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                       IP                CIDR             ASN NETNAME COUNTRY
                       212.117.180[.]130 212.117.160.0/19 5577 ROOT, LU LU
                       212.117.180[.]21         212.117.160.0/19 5577 ROOT, LU                  LU
                       94.242.195[.]186         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.206[.]196         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.222[.]23          94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]162         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]163         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]165         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]177         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]181         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]183         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.239[.]189         94.242.192.0/18         5577 ROOT, LU           LU
                       94.242.251[.]32          94.242.192.0/18         5577 ROOT, LU           LU
  These findings indicate RIS actors have utilized XBT-owned infrastructure. 36

  Documents produced by the plaintiff illustrate that minimal, if any, internal investigation was performed
  by the company into the IP addresses noted on the Grizzly Steppe Report on a timely basis. In an email
  chain produced during discovery, Konstantin Bezruchenko, CTO of XBT, sent an email to Marc Goederich,
  Managing Director of Root S.A., asking about abuse notifications or requests Root S.A. received from “local
  police or other EU/U.S. law enforcement agencies” for the IP addresses noted in government reports. The
  email from Bezruchenko was dated September 6, 2017, nine months after the Grizzly Steppe report was
  released. Goederich forwarded an email he received from the Luxembourgish authorities on December 30,
  2016 seeking information on what data they maintained for IP address 212.117.180[.]21. Goederich
  responded that the IP is a “tor exit node” and “doesn’t get us very far.” 37 38 Additionally, a Cybersecurity
  Specialist for the Luxembourgish government contacted Goederich on January 3, 2017 asking “could you
  check on what these 3 IPs are? They have come up in the report from the DHS regarding the Russian
  attacks.” Goederich responded that “most have been clients for quite a long time and have more than one
  server, so really something more like resellers.” 39 Based on our experience, this is not an adequate
  response to a government inquiry. Goederich provided additional information on each IP address to
  Bezruchenko and Gubarev, such as those that were TOR Exit nodes, and stats on the abuse notifications for
  the IP addresses noted in the table above.40 It does not appear that Goederich took any other steps to
  investigate the IP addresses noted in the report. However, FTI was able to identify the following




  36 Refer to Exhibit 8.
  37 P-T000012 through P-T000015.
  38 Tor is software and a network for enabling anonymous communication, directing Internet traffic through a worldwide, volunteer
  network. Refer to Statements from Deposition Testimony for more information.
  39 P-T000020
  40 P-T001712.


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  information from the abuse notifications produced by XBT and to which Goederich would have had easy
  access:
      •    On May 16, 2014 the Threat and Vulnerability Management Team at Betfair submitted an abuse
           request for 94.242.239[.]163 noting that it was habitually scanning their network. The abuse
           notification was captured in Root S.A ticking work flow and sent to the end customer. A response
           was provided by king.servers1@gmailcom stating that the IP address was a Virtual Private Network
           (VPN) service and that it was closed. 41 42
      •    On June 6, 2014 an abuse notification was submitted for 94.242.239[.]181 at Leadads.com stating
           that the IP was trying to hack their tracking system. The abuse notification was captured in Root
           S.A ticking work flow and sent to the end customer. A response was provided by
           king.servers1@gmailcom stating that the IP address was a VPN service and that it was closed. 43
  Vladimir Fomenko is the owner of King Servers, a Russia-based web-hosting company. ThreatConnect
  identified six domains owned by King Servers that had been used to infiltrate the Arizona and Illinois State
  Boards of Elections. 44 In December 2016, Russian authorities arrested two senior FSB officers and an
  executive at Kaspersky Labs and charged them with treason. The independent Russian newspaper Novaya
  Gazeta reported that the accused men provided U.S officials with information about Fomenko. FTI was not
  able to link King Server infrastructure to XBT, but these abuse notifications suggest that King Servers was a
  customer of Root S.A. 45 The ThreatConnect report was published in September 2016, a few months before
  the December 2016 publication of the Grizzly Steppe report and the 13 Root S.A. IP addresses. In our
  experience it’s highly unusual that the connection would not have been made between the ThreatConnect
  report and the Root S.A. IP addresses apparently used by King Servers.
  Neither of the IP addresses noted above was identified by Goederich as TOR exit nodes. Based on this
  evidence, it does not appear that an internal investigation was performed by XBT in the weeks after the
  publication of the Grizzly Steppe report. Based on industry experience, it would be highly unusual not to
  conduct an investigation into infrastructure components noted in government reports as propagating
  malicious activity, if the operators were concerned about running a lawful, legitimate service.

  The Methbot Operation
  The Russian Methbot Advertising Fraud Operation (“Methbot”) was run from mid-2015 through December
  2016 by Russian cybercriminals and involved siphoning millions of advertising dollars away from U.S. media
  companies. White Ops, a cybersecurity company that protects digital advertisers from ad fraud and other
  automated threats, published a white paper on December 20, 2016 on Methbot. The white paper provides
  technical information on the advanced botnet operation, its estimated financial impact and related IOCs.
  The white paper stated that “Methbot was the largest and most profitable advertising fraud operation to




  41 P-T001704 through P-T001706.
  42 A virtual private network extends a private network across a public network, and enables users to send and receive data across
  shared or public networks as if their computing devices were directly connected to the private network.
  43 P-T001714 through P-T001717.
  44 https://threatconnect.com/blog/state-board-election-rabbit-hole/
  45 https://www.cyberscoop.com/russia-fsb-arrests-king-servers-threatconnect/


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  strike digital advertising to date.” 46 The operation produced massive volumes of fraudulent video
  advertising impressions by commandeering Internet infrastructure and targeting video advertising. A so-
  called army of web browsers spoofed advertisers into believing their ads were being viewed millions of
  times per day on fake sites controlled by online fraudsters. Those fake views attracted real advertising
  dollars – reportedly as much as $5 million per day – that were then funneled to the criminals. 47
  The infrastructure behind the Methbot operation included more than 850,000 IP addresses supported by
  an estimated 800 to 1,200 dedicated servers located in the U.S. and the Netherlands. 48 The advanced
  techniques included faked clicks, mouse movements, and social network login data to masquerade as
  engaged human consumers. The Methbot fraud also included sophisticated manipulation of IP geolocation
  information. 49
  Traditional bots use existing IP addresses by compromising individual computers. However, that structure
  limits the amount of “clicks” or “views” that can be performed. The Methbot operation was executed
  across a distributed network based on a custom browser engine running out of a data center using IP
  addresses with forged registration data. The Methbot operation was first detected in September 2016 and
  expanded aggressively in October 2016, according to White Ops.
  FTI obtained and reviewed historical data associated with XBT-owned ASNs and IP blocks – in layman’s
  terms, these are ranges of IP addresses. 50 The XBT-owned IP prefixes were compared against the IOCs
  published by White Ops in order to determine whether XBT infrastructure could be linked to the Methbot
  operation. FTI found evidence to support that 24% of the IP prefixes and up to 78% of IP addresses
  associated with the Servers.com ASN AS7979 were included in the Methbot IOCs. Additionally, evidence
  supports that 69% of the IP prefixes and up to 74% of IPs affiliated with the WZ Communications ASN
  AS40824 were included in the Methbot IOCs. 51
  Below is a breakdown by XBT entity.

                                     IP Prefixes                                     IP Addresses

   XBT Entity                        Total #        Methbot         % of Total       Max Total Methbot                % of Max
                                                    Linked                           #         Linked                 Total
   WZ Com Inc. (AS40824)             207            142             68.5             357,120         264,192          74
   Servers.com (AS7979)              66             16              24.2             379,136         296,960          78.3
   Total                             273            158             57.8             736,256         561,152          76.2


  An analysis of historical data using RipeStat shows that Methbot IP addresses originated and began scaling
  up on Servers.com ASNs in late September and October 2016. Methbot IP addresses began originating on




  46 https://www.whiteops.com/methbot (Exhibit 9).
  47 ibid
  48 A dedicated server is a single computer in a network reserved for serving the needs of the network.
  49 ibid
  50 Methbot historical data and other technical information can be found in Exhibit 10.
  51 FTI notes that not all Methbot IP addresses within a given IP prefix were assigned to an XBT entity during the Methbot
  Operation.


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  WZ Communications in October 2015, although they did not experience the same scale of IP origination
  (i.e., growth).
  The timeframe for the large increase in IP addresses for Servers.com is significant because it is consistent
  with the timeframe when the Methbot operation began to “scale aggressively,” according to the White Ops
  paper. FTI notes that both Servers.com and WZ Communications abruptly withdrew Methbot IP addresses
  on December 25, 2016, five days after White Ops released their report on the Methbot operation.
  According to RipeStat, on December 25, 2016, the number of announced IP prefixes on the Servers.com
  ASN went from 61 to 47, and the number of announced IP prefixes on the WZ communications ASN went
  from 200 to 30.




   The graph from https://stat.ripe.net/ illustrates the significant increase of IP prefixes originating on the Servers.com ASN starting in
    late September and October 2016 and the corresponding withdrawal of IP prefixes in late December 2016, days after the White
                Ops report was released. The red line represents the period when the operation “scaled aggressively.”




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   The graph from https://stat.ripe.net/ illustrates the significant increase of IP addresses originating on the Servers.com ASN starting
     in late September and October 2016 and the corresponding withdrawal of IP addresses in late December 2016, days after the
              White Ops report was released. The red line represents the period when the operation “scaled aggressively.”




   The graph from https://stat.ripe.net/ illustrates the significant increase of IP prefixes originating on the WZ Communications ASN
   starting in October 2015 and the corresponding withdrawal of IP prefixes in late December 2016, days after the White Ops report
                      was released. The red line represents the period when the operation “scaled aggressively.”




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   The graph from https://stat.ripe.net/ illustrates the significant increase of IP addresses originating on the WZ Communications ASN
   starting in October 2015 and the corresponding withdrawal of IP addresses in late December 2016, days after the White Ops report
                        was released. The red line represents the period when the operation “scaled aggressively.”

  The dramatic origination and subsequent withdrawal of IP addresses can only be performed manually, by
  configuring the Border Gateway Protocol (“BGP”) settings on the physical routers. A network administrator
  or someone with knowledge of the infrastructure at both Servers.com and WZ Communications would have
  had to manually change the BGP configurations on December 25, 2016 to withdraw these IP addresses.
  The high number of technical connections to the Methbot Operation IOCs and the dramatic fluctuations in
  Methbot-linked IP addresses indicates that individuals affiliated with Servers.com and WZ Communications
  may have been aware XBT-related infrastructure was used for an illegal operation. Additionally, the
  operation was a large scale “botnet”, which is consistent with statements made in the Dossier.
  Documentation produced by the plaintiffs provides evidence that XBT became aware of the Methbot
  Operation after the White Ops report was released and took action to terminate the responsible customer.
  This is likely the reason why FTI observed the withdrawal of IP addresses noted above in late December
  2016. Gubarev said in emails that he and other employees knew the customer “personally” for “many
  years,” and that the customer has been to Cyprus several times. He was using “over 1000 servers,”
  “everybody” at the company interacted with him because he was a “big client,” and Gubarev spoke with
  him personally. The client had represented that he was a “big data analytics system” for video ads. 52
  However, when asked to provide a copy of the contract with the customer in question Gubarev responded
  “due to fact we know this customer we do not ask him to sign contract by mistake as a result we can’t claim
  damages.” Gubarev also estimated that the company will lose between “2-2.5M$” if they could not resell
  the servers. 53 That represents between 4% and 5% of the 2016 XBT revenue according to the XBT 2016




  52 P-P001536.
  53 KGlobal 001041.


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  Consolidated Financial Statement. 54 It is a highly unusual and risky business practice for hosting
  companies to provide services without signed contracts, especially instances when the customer is
  requesting a large number of servers and the company is at risk of losing a large amount of revenue.


  Malicious Cyber Activity
  XBT-owned infrastructure has been used to support malicious cyber campaigns tied to Russian state actors,
  high-profile malicious schemes and cyber attacks on critical infrastructure networks across the globe. This
  section details the key findings FTI identified based on an extensive review of government and private
  security firm reports. 55

  Technical Connections to Russian State Actors
  CRASHOVERRIDE & Ukraine Power Grid Attack
  The Ukrainian power grid was the victim of a cyber-attack in December 2015. Hackers were able to
  compromise the information systems of three energy distribution companies and disrupt the electricity
  supply from these entities for approximately one hour. After another attack in 2016, the United States
  Department of Homeland Security, National Cybersecurity and Communications Integration Center
  (“NCCIC”) issued Alert TA17-163A (referencing the “CRASHOVERRIDE” malware) about the power-grid
  attacks. 56 Private security firms ESET and Dragos, Inc. subsequently published a collaborative report with
  more information on the CRASHOVERRIDE malware used to take control of Ukrainian industrial information
  systems. This new type of attack campaign was dubbed “CRASHOVERRIDE” malware because of its ability
  to disrupt key infrastructure. According to the ESET and Dragos report, the cyber-attack on Ukraine
  “marked a revolutionary event for electric grid operators. It was the first known instance where a cyber-
  attack had disrupted electric grid operations.” 57 58 59
  Based on the report issued by Dragos and ESET, the adversary group behind CRASHOVERRIDE was identified
  as ELECTRUM. The private security firms also assessed with high confidence that ELECTRUM has direct ties
  to the Sandworm team, a cyber espionage group with ties to Russia. 60 61
  FTI reviewed the IOCs issued in NCCIC Alert TA17-163A and identified a total of five IP addresses used to
  support the attack. One of those five IP addresses was owned by an XBT subsidiary business entity, 8-to-




  54 XBT Holding SA- 2016 Consolidated.pdf, page 11 (P-G000365 - P-G000405).
  55 Unless otherwise noted, government and private security firm reports did not specifically reference XBT entities. FTI established
  the connections to XBT-owned IP addresses using WHOIS and RipeStat.
  56 https://www.us-cert.gov/ncas/alerts/TA17-163A (Exhibit 11).
  57 https://dragos.com/blog/CRASHOVERRIDE/CRASHOVERRIDE-01.pdf (Exhibit 27)
  58 Dragos, Inc. is an industrial cybersecurity company based out of Hanover, Maryland, which is focused on industrial environments
  such as those found in industrial control system (ICS), Supervisory Control and Data Acquisition (SCADA), and Distributed Control
  System (DCS) environments.
  59 ESET is an IT security company that offers anti-virus, and firewall hardware products, as well as Managed Service solutions. The
  company is headquartered in Bratislava, Slovakia.
  60 https://www.washingtonpost.com/r/2010-2019/WashingtonPost/2014/10/14/National-Security/Graphics/briefing2.pdf
  61 https://dragos.com/blog/crashoverride/


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  Infinity Pte, Ltd. XBT acquired 8-to-Infinity Pte, Ltd. in 2012, reportedly to expand its holdings and
  operations in Asia. 62 The company in October 2013 changed its name to Webzilla Singapore PTE Ltd. IP
  address 188.42.253[.]43 is still registered to 8-to-Infinity but now belongs to an IP block associated with XBT
  subsidiary Root S.A. per public IP registration data. 63
  The table below illustrates the ASN and IP addresses used to support the 2015 Ukraine attack. The 8-to-
  Infinity/Root S.A. IP address is highlighted in red.

              AS                IP                    BGP Prefix                             AS Name
            59939       195.16.88[.]6              195.16.88.0/22           WIBO-AS, LT
            197988      46.28.200[.]132            46.28.200.0/21           SOLARCOM, CH
            45470       188.42.253[.]43            188.42.252.0/22          SG-8-TO-SG 8-to-Infinity Pte Ltd, SG
            57043       5.39.218[.]152             5.39.218.0/24            HOSTKEY-AS, NL
            16125       93.115.27[.]57             93.115.24.0/21           CHERRYSERVERS1-AS, LT

  Win32/Industoyer Malware
  An ESET white paper published in June 2017 identified that same Root S.A. owned IP address cited in the
  CRASHOVERRIDE report had been used as a command-and-control server for the “Win32/Industroyer”
  malware software. Win32/Industroyer is a sophisticated piece of malware designed to disrupt industrial
  control systems, specifically those used in electrical substations. 64 Once an industrial control system is
  infected by the malware, the attackers can remotely control systems such as switches and circuit breakers
  from command-and-control servers. ESET states that Win32/Industroyer may have been the tool that
  attackers used to cause a power outage in the Ukraine in December 2016. 65 66 ESET did not attribute the
  use of Win32/Industroyer to any specific threat groups. However, the malware does share signatures with
  the Black Energy Trojan malware which has been attributed to Sandworm, a Russian cyber espionage
  group. 67

  CosmicDuke Malware
  In a September 2014 white paper about COZY BEAR, cybersecurity firm F-Secure identified that Root S.A.
  owned IP address 94.242.199[.]88 was used as a command-and-control server for the COZY BEAR-designed
  “CosmicDuke” malware. 68 69 70 When active, the CosmicDuke malware will search for and harvest login
  credentials from a variety of programs, collect information from those programs and forward that data to




  62 http://www.thewhir.com/web-hosting-news/xbt-holding-expands-with-acquisition-of-singapore-web-host-8-to-infinity
  63 https://stat.ripe.net/widget/routing-history#w.resource=188.42.253.43
  64 https://www.welivesecurity.com/wp-content/uploads/2017/06/Win32_Industroyer.pdf (Exhibit 12).
  65 ibid
  66 https://www.reuters.com/article/us-ukraine-cyber-attack-energy/ukraines-power-outage-was-a-cyber-attack-ukrenergo-
  idUSKBN1521BA
  67 BlackEnergy is a Trojan malware designed to launch distributed denial-of-service (DDoS) attacks, download custom spam, and
  banking information-stealer plugins. BlackEnergy malware was known to have been used to deliver KillDisk, a feature that could
  render systems unusable. It is reported to have possessed remarkable functions that could place Industrial Control Systems (ICS) at
  risk. https://www.trendmicro.com/vinfo/us/security/news/cyber-attacks/faq-BlackEnergy
  68 F-Secure Corporation is a Finnish cyber security and privacy company based in Helsinki, Finland.
  69 https://www.f-secure.com/documents/996508/1030745/cosmicduke_whitepaper.pdf (Exhibit 13).
  70 https://stat.ripe.net/widget/routing-history#w.resource=94.242.199.88


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  its own servers. 71 As noted in previous sections of this report, COZY BEAR is a Russian hacker group
  believed to be associated with Russian intelligence.

  Technical Connections to APT Careto
  In 2014, Kaspersky Lab listed Webzilla Singapore owned IP address 223.25.232[.]161 a server used by
  Careto, an APT actor that has been operating since at least 2007. 72 73 According to Kaspersky’s Unveiling
  “Careto” – The Masked APT, Careto may be a nation-state sponsored campaign due to its sophisticated
  techniques. However, intelligence and security firms have not stated what country they are affiliated with.
  When active in a system, Careto’s malware can intercept network traffic, keystrokes, Skype conversations,
  PGP keys, analyze Wi-Fi traffic, fetch all information from Nokia devices, screen captures and monitor all file
  operations. The Kaspersky white paper indicates that the identified IP address is a command-and-control
  “exploit staging server IP,” indicating it was a key part of the attack. 74

  Operation Potao Express
  A July 2015 white paper titled “Operation Potao Express” published by cybersecurity firm ESET listed Root
  S.A. owned IP address 94.242.199[.]78 as a command-and-control server for the malware known as
  “win32/Potao”(part of the “Potao” malware family). 75 76 The Potao malware family shares many
  characteristics with the BlackEnergy Trojan, which has been used by the Sandworm team, a cyber
  espionage group with ties to Russia. 77 Both Potao and BlackEnergy malware have been used in attacks
  against Ukrainian government and military institutions. The Potao malware family was active as early as
  August 2011, when it was used in a “mass spreading” campaign infecting targets in several countries. ESET
  stated that the Potao malware family was still very active at the time the white paper was published. 78

  Sedreco
  An October 2016 report titled “En Route with Sednit” published by ESET listed URL updatesystems[.]net as
  a command-and-control domain for a backdoor malware identified as “Sedreco.” The URL resolves to the
  8-to-Infinity owned IP address 188.42.254[.]26.79 80 The malware is believed to be created by FANCY BEAR
  (i.e., Sednit) and allows for persistent access to a victim’s network for the attacker. 81




  71 https://www.f-secure.com/documents/996508/1030745/dukes_whitepaper.pdf
  72 Kaspersky Lab is a multinational cybersecurity and anti-virus provider headquartered in Moscow, Russia and operated by a
  holding company in the United Kingdom. Kaspersky Lab develops and sells antivirus, internet security, password management,
  endpoint security, and other cybersecurity products and services.
  73 https://stat.ripe.net/widget/routing-history#w.resource=223.25.232.161
  74 https://app.box.com/s/aepgdq5vc2dxd2m9t0ab2v28rtwbhjua (Exhibit 14).
  75 https://www.welivesecurity.com/wp-content/uploads/2015/07/Operation-Potao-Express_final_v2.pdf (Exhibit 15).
  76 https://stat.ripe.net/widget/routing-history#w.resource=94.242.199.78
  77 https://www.washingtonpost.com/r/2010-2019/WashingtonPost/2014/10/14/National Security/Graphics/briefing2.pdf
  78 https://www.welivesecurity.com/wp-content/uploads/2015/07/Operation-Potao-Express_final_v2.pdf
  79 https://stat.ripe.net/widget/routing-history#w.resource=188.42.254.26
  80 Refer to Exhibit 16.
  81 https://app.box.com/s/lmaensc7vzdugsy1nsh4bwligl07q53b (Exhibit 17).


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  Other Malicious Cyber Activity
  The Gozi Malware (ISFP)
  The Gozi malware is a computer virus that infected more than one million computers worldwide, enabling
  hackers to access personal bank information and to steal tens of millions of dollars from 2007 to 2011. 82 In
  2012 the U.S. Attorney’s Office for the Southern District of New York dubbed Gozi “one of the most
  financially destructive computer viruses in history.” 83 Variants of the Gozi malware have continued to be
  used for subsequent malware campaigns. In September 2015, the Swiss government issued a CERT report
  on a “malvertising” campaign that compromised a popular advertising network in Switzerland and involved
  hundreds of thousands of possible victims from France and Germany. The malware was installed on end-
  user machines by exploiting vulnerabilities in Internet Explorer, Java and Adobe Flash. The malware behind
  the Swiss campaign was GOZI ISFP. 84 FTI notes that a Root S.A. IP address, 94.242.254[.]208, supported
  the GOZI IFSP malware campaign and was identified as the possible command-and-control server for the
  attack. 85 86 87
  FTI notes that documents produced by plaintiffs indicate that Gubarev, Constantin Luchian, and XBT
  subsidiaries have a business relationship with a Nikita Kuzmin, including purchasing assets from a company
  Kuzmin operated as recently as 2017. Kuzmin was president of ServerClub, Inc. which was registered in
  2011 by Luchian and his company Incorporate Now. An individual with the same name is a convicted
  cybercriminal responsible for authoring the Gozi virus in 2007. Kostyantyn Bezruchenko confirmed in his
  deposition that he knew Kuzmin personally and that Kuzmin was in prison for illegal internet activities. 88

  RIG Exploit Kit (RIG)
  The cyber threat-intelligence firm, Talos, monitors large malware campaigns and issues analysis and reports
  on those campaigns on a periodic basis. 89 In January 2016, Talos issued an analysis on the RIG Exploit Kit
  (“RIG”), a variation of a malicious tool commonly used to deliver banking Trojans or ransomware.90 Talos’
  analysis of data obtained from September 1, 2015 through October 30, 2015, showed RIG was affecting




  82 https://www.justice.gov/usao-sdny/pr/three-alleged-international-cyber-criminals-responsible-creating-and-distributing-virus
  83 Ibid
  84 GOZI IFSB is a variant of the original Gozi malware, which U.S. criminal courts determined was developed by Russian
  cybercriminal Nikita Kuzmin and his partners in 2006. Kuzmin in 2016 pleaded guilty to U.S. criminal charges related to his role in
  the Gozi campaign.
  85 https://www.govcert.admin.ch/blog/13/swiss-advertising-network-compromised-and-distributing-a-trojan. (Exhibit 18). Please
  note that FTI is not able to confirm that Kuzmin or his known associates developed the Gozi ISFP variant that was referenced in the
  Swiss Cert Report.
  86 A command-and-control server is a centralized machine used to issue commands to infected computers and gather
  misappropriated information from those computers (e.g. stolen credit card numbers).
  87 https://stat.ripe.net/widget/routing-history#w.resource=94.242.254.208
  88 Bezruchenko Dep. 305:3 – 315:8.
  89 The Talos Intelligence Group researches and publishes reports regarding known and emerging threats, new vulnerabilities in
  common software, and other threats.
  90 An exploit kit is software designed to run on web servers with the purpose of identifying software vulnerabilities (i.e. in
  Windows, Adobe, Java, etc.), uploading and executing malicious code to users (i.e. delivering “payloads”). Exploit kits are commonly
  used to deliver banking Trojans and/or ransomware.


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  hundreds of users per day, compared to thousands per day like other exploit kits. RIG was also delivering
  spambot malware, while other exploit kits were typically delivering Trojans or ransomware. 91 92
  When Talos investigated the infrastructure supporting the RIG Exploit, the firm “observed 44 unique IP
  addresses delivering some form of RIG. On most days, there were only one or two IPs actively hosting RIG.
  When we resolved the IPs associated ASN, we found something surprising. With the exception of a single IP
  address, all IPs belonged to the same ASN (35415).” The report noted that the ASN is owned by Webzilla,
  and by extension the IP addresses. The IP addresses associated with the Webzilla ASN in question were
  leased to a client business entity, Eurobyte, LLC. 93 94
  Talos reportedly contacted both Eurobyte and Webzilla in late 2015 and provided both companies with
  information about the hosts. According to Talos, Webzilla responded and blocked the customers that were
  generating the events. Despite multiple emails to communicate with Eurobyte, Talos reported RIG activity
  continued as new IP addresses were brought online. It is not clear, based on the Talos report or FTI’s
  independent analysis, whether the servers that continued to host RIG were owned by XBT.

  PonyUp Scheme
  Pony is a form of malware, often delivered through phishing, that dates to at least 2013 and that has
  included multiple variations over time. Computer security firm Damballa issued a Threat Report in late
  2015 titled “PonyUp: Tracing Pony’s Threat Cycle and Multi-Stage Infection Chain.” 95 The malicious spear
  phishing campaign detailed in the report enticed users into clicking on links and images in spam emails by
  impersonating well-known companies, using their logos and known subject lines to deceive the user. When
  a user clicked on an email, a malicious program was downloaded that allowed the hacker to steal data on
  the infected machine. There were 20 IP addresses noted in the report that are believed to be used for
  command-and-control purposes. Seven of those 20 IP addresses are affiliated with Webzilla ASN
  35415. 96 97
       AS              IP              BGP Prefix                             AS Name
    35415      109.234.34[.]57     109.234.34.0/24 WEBZILLA B.V.
    35415      109.234.37[.]184    109.234.37.0/24 WEBZILLA B.V.
    35415      178.208.78[.]76     178.208.78.0/24 WEBZILLA B.V.
    35415      178.208.91[.]229    178.208.91.0/24 WEBZILLA B.V.
    35415      206.54.183[.]106    206.54.183.0/24 WEBZILLA B.V.




  91 A spambot is a malicious program designed to collect email addresses from the internet to build mailing lists.
  92 A Trojan is any malicious program which misleads users from its true intent. Ransomware is a malicious program that encrypts
  data on the infected machine until a ransom is paid.
  93 http://blog.talosintelligence.com/2016/01/rigging-compromise.html (Exhibit 19).
  94 Webzilla is specifically listed in the report.
  95 Damballa is a cyber security company, based out of Atlanta, GA, specializing in network monitoring for advanced threats.
  Damballa was acquired by Roswell Based Cybersecurity Organization Core Security in July 2016.
  96 https://stat.ripe.net/widget/routing-history#w.resource=109.234.34.57; https://stat.ripe.net/widget/routing-
  history#w.resource=109.234.37.184; https://stat.ripe.net/widget/routing-history#w.resource=178.208.78.76;
  https://stat.ripe.net/widget/routing-history#w.resource=178.208.91.229; https://stat.ripe.net/widget/routing-
  history#w.resource=206.54.183.106; https://stat.ripe.net/widget/routing-history#w.resource=46.30.42.177;
  https://stat.ripe.net/widget/routing-history#w.resource=46.30.42.234
  97 Webzilla B.V. was specifically referenced in the Damballa Report as the ASN associated to those seven IP addresses.


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     AS                 IP                  BGP Prefix                         AS Name
   35415        46.30.42[.]177           46.30.42.0/24    WEBZILLA B.V.
   35415        46.30.42[.]234           46.30.42.0/24    WEBZILLA B.V.
   43449        91.194.254[.]224         91.194.254.0/23  DIMLINE-AS Dimline Ltd.
   43449        91.194.254[.]236         91.194.254.0/23  DIMLINE-AS Dimline Ltd.
   43449        91.194.254[.]82          91.194.254.0/23  DIMLINE-AS Dimline Ltd.
   44050        31.184.192[.]214         31.184.192.0/19  PIN-AS Petersburg Internet Network LLC
   44050        91.220.131[.]109         91.220.131.0/24  PIN-AS Petersburg Internet Network LLC
   44050        91.220.131[.]16          91.220.131.0/24  PIN-AS Petersburg Internet Network LLC
   44050        91.220.131[.]241         91.220.131.0/24  PIN-AS Petersburg Internet Network LLC
                                                          XSERVER-IP-NETWORK-AS PE Ivanov Vitaliy
   48031        46.161.40[.]108          46.161.40.0/24   Sergeevich
                                                          XSERVER-IP-NETWORK-AS PE Ivanov Vitaliy
   48031        91.217.90[.]137          91.217.90.0/23   Sergeevich
                                                          XSERVER-IP-NETWORK-AS PE Ivanov Vitaliy
   48031        91.226.212[.]142         91.226.212.0/23 Sergeevich
   197695       151.248.113[.]8          151.248.113.0/24 AS-REGRU _Domain names registrar REG[.]ru_
   197695       5.63.154[.]158           5.63.154.0/24    AS-REGRU _Domain names registrar REG[.]ru_
   201094       185.86.76[.]168          185.86.76.0/22   GMHOST Alexander Mulgin Serginovic

  The report concluded that the PonyUp scheme was orchestrated by well-organized criminals. The criminals
  behind the campaign relied on a network of so-called “bulletproof hosts” to create botnets quickly and
  effectively. Bulletproof hosting is a service provided by domain-hosting or web-hosting firms that allows
  their customer considerable leniency in the kinds of material they may upload and distributed. This
  leniency has been taken advantage of by spammers and by illicit online gambling and illegal pornography
  sites. 98

  Darkhotel
  A November 2014 report titled “Darkhotel Indicators of Compromise” published by Kaspersky listed URL
  autosail[.]ns01[.]biz as a command-and-control server for the malicious campaign referred to as
  “Darkhotel.” 99 This URL resolves to Root S.A. owned IP address 94.242.199[.]172. 100 101 Darkhotel is a
  targeted spear phishing, spyware and malware-spreading campaign that selectively attacks business hotel
  visitors through the hotel's in-house Wi-Fi network in an attempt to steal sensitive information. The
  Kaspersky report states that the IP address was hosting the malicious URL as part of this group’s efforts to
  target guests of hotels in Asia. 102




  98 Refer to Exhibit 20.
  99 https://app.box.com/s/r97cjt70ywsd7pnrstr7buqzxn5svfw1 (Exhibit 21)
  100 https://stat.ripe.net/widget/routing-history#w.resource=94.242.199.172
  101 Refer to Exhibit 22.
  102 ibid


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  Technical Links to APT Nitro
  A 2014 Palo Alto Networks report about the group known as “Nitro” listed URL good[.]myftp[.]org as a
  command-and-control URL used by the threat actor group to support malicious attacks. 103 The URL
  resolves to the 8-to-Infinity owned IP address 223.25.233[.]248. 104 105 This group is known for spear
  phishing attacks but has recently used compromised legitimate websites to gain access and steal
  information from victims. The report states “through historic IP resolution overlap between the same
  domains alternately resolving to either the 223.25.233[.]248 or 196.45.144[.]12. This shifting of IP
  resolutions back and forth indicates Nitro is in control of these domains.” 106

  Carbanak Malware
  A paper released by Trustwave in November 2016 included malware hashes in the IOCs that were part of
  the Carbanak malware. 107 108 There were four Webzilla B.V. owned IP addresses that supported the
  malware associated to that hash based on VirusTotal Intelligence (78.140.136[.]87, 88.85.84[.]98,
  78.140.142[.]179, and 78.140.136[.]87). 109 The malware supported by the Webzilla B.V. owned IP
  addresses is a sub program used to issue “update” commands to the primary Carbanak malware. This
  version of the Carbanak malware supported an advanced attack methodology carried out by actors
  targeting three separate victims in the hospitality and restaurant industries. Carbanak is a prolific crime
  group, well known for stealing over one billion dollars from banks in 2015 and more recently orchestrating
  an attack on the Oracle Micros Point of Sale(POS) support site that put over one million POS systems at
  risk. 110


  Statements from Deposition Testimony
  Statements made during the deposition support that Root S.A., and XBT as an organization, do not actively
  prevent the use of their infrastructure to support malicious cyber activity.
  Based on the review of the deposition testimony of Konstantin Bezruchenko, CTO of XBT, and Marc
  Goederich, Managing Director of Root S.A, it is not clearly evident that XBT has an adequate enterprise
  infrastructure monitoring in place or a formally defined procedure to investigate abuse notifications or
  references to XBT-owned infrastructure identified in government and private security reports on high
  profile cyber campaigns.




  103 Palo Alto Networks, Inc. is a network and enterprise security company based in Santa Clara, California.
  104 https://stat.ripe.net/widget/routing-history#w.resource=223.25.233.248
  105 Refer to Exhibit 23.
  106 https://app.box.com/s/drb0p2idherjlxlwdqh0nharpt310s8u (Exhibit 24).
  107 Hash: 2937013f2181810606b2a799b05bda2849f3e369a20982a4138f0e0a55984ce4
  108 Trustwave Holdings is an information security company that provides threat, vulnerability and compliance management
  services and technologies.
  109 https://stat.ripe.net/widget/routing-history#w.resource=78.140.136.87; https://stat.ripe.net/widget/routing-
  history#w.resource=88.85.84.98; https://stat.ripe.net/widget/routing-history#w.resource=78.140.142.179;
  https://stat.ripe.net/widget/routing-history#w.resource=78.140.136.87
  110 https://app.box.com/s/cbclbgiu54ihivxe7bvblwsv1e8jq44h (Exhibit 25).


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  Konstantin Bezruchenko Deposition
  Based on our review of Bezruchenko’s deposition and our experience working with other web hosting and
  network solution providers, it appears XBT's investigative and takedown process of malicious activity is
  inadequate when compared to processes followed by other companies. Additionally, in our experience it’s
  unusual that the CTO would not have basic information regarding customer allocation.
      •    Bezruchenko repeatedly states that he does not know about server and resource distribution across
           the XBT platform. Those are unusual statements considering that he stated that he is partially
           responsible for entering into lease agreements for technology procurement. 111 An organization
           leveraging this many servers normally has a formally defined and communicated strategy for
           capacity planning and resource allocation. This is also supported by his statement that it takes “an
           enormous amount of time” to deploy Webzilla servers. 112

      •    Bezruchenko states you "can't have" a PCAP file, even for a short period of time. 113 114 Based on
           our experience, web hosting companies do maintain PCAP files for a period of time. Additionally,
           Bezruchenko emailed Goederich about the Grizzly Steppe report and asked, "I'm wondering if
           someone had visited data center to gain access to those servers, copy data, and install any wiretap
           devices to listen to Internet data towards this servers, et cetera." 115 Listening to Internet data
           requires access to PCAP logs, which indicates that Root S.A. does maintain them.

      •    Minimal information was provided about what the duty engineer does when he "tries to
           understand what is going on" when attacks are observed originating from a managed server.116 In
           our experience, it is best practice for companies to have robust procedures around investigating
           attacks originating from the network, including documentation and review by management.
      •    Based on our experience, the customer onboarding and background check process seems ad-hoc,
           immature, subject to personal bias, or any combination thereof. Bezruchenko states that the
           background check is a factor when considering larger clients. 117 However, when discussing the
           Methbot client requesting 1,000 servers he contradicts this statement, testifying: "I knew he runs
           this company. That's all I know.” 118

      •    Bezruchenko does not know how many customers have been terminated as a result of violating the
           acceptable use policy of XBT. In our experience this is a highly unusual statement and is
           information that the CTO should know. 119




  111 Bezruchenko Dep. 32:21.
  112 Bezruchenko Dep. 26:16.
  113 Bezruchenko Dep. 173:3 - 173:8.
  114 PCAP (packet capture) consists of an application programming interface (API) for capturing network traffic.
  115 Bezruchenko Dep. 261:4.
  116 Bezruchenko Dep. 75:4.
  117 Bezruchenko Dep. 81:9.
  118 Bezruchenko Dep. 225:11.
  119 Bezruchenko Dep. 106:14.


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      •    Bezruchenko notes that Root S.A. was in the “business of -- I have called -- cheap dedicated
           servers” and that XBT wanted to enter the business. 120 In our experience, organizations that run
           cheap dedicated servers are resources for cybercriminals to launch malicious cyber attacks.

  Marc Goederich Deposition
  In general, Root S.A. does not appear to have any enterprise infrastructure monitoring in place to identify
  the use of their infrastructure to launch a cyber attack. Additionally, no formal procedures appear to be in
  place to monitor abuse alerts.

      •    Goederich states that there are no policies or procedures for governing ASNs and that they are
           governed based on “internal knowledge.” 121 Based on our experience, its best practice for a web
           hosting company to define formal policies around the administration and maintenance of ASNs.

      •    When investigating IPs or customers Goederich indicates they place reliance on Googling their own
           IP addresses and ASNs to see what information is reported or “if anything bad is happens.” 122
           Goederich also indicates they do check Spamhaus, but in our experience it’s a best practice for an
           ISP to have an automated process to collect or query key data about a specific server. 123

      •    Goederich states that the company monitors the rate limit of outgoing emails but does not monitor
           them for malware or phishing attacks because he is “not allowed by Luxembourgish law”. 124 This
           statement is confusing and unusual. It’s unclear from our experience and research why Root S.A.
           cannot monitor outbound email traffic for the purposes of detecting phishing attacks.
      •    Goederich states that, to his knowledge, Root S.A. does not have any measures in place to prevent
           data abuse or hacks on its infrastructure. 125 Based on our experience, this is a highly unusual
           statement because it is a best practice that web hosting companies have policies in place to restrict
           the launch of malicious attacks on their infrastructure.
      •    Goederich states there is no employee or individual at Root S.A. responsible for ongoing security
           review at Root S.A. 126 Based on our experience, it is not a best practice for a web based technology
           firm to not have a dedicated resource responsible for network security.

      •    Goederich stated that Root S.A. is not ISO certified because of “time, costs, and other customers
           didn’t demand it.” 127 This is a highly unusual statement because web hosting companies typically
           advertise their level of security as a feature of its infrastructure. Bezruchenko’s deposition
           identified Amazon Web Services (AWS) as a competitor and AWS advertises ISO compliance. 128 129




  120 Bezruchenko Dep. 143:4
  121 Goederich Dep. 24:1.
  122 Goederich Dep. 24:6.
  123 Goederich Dep. ibid
  124 Goederich Dep. 52:14 – 54:25.
  125 Goederich Dep. 75:2.
  126 Goederich Dep. 83:16.
  127 Goederich Dep. 84:12.
  128 https://aws.amazon.com/compliance/iso-27001-faqs/


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      •    Goederich confirms that no internal investigation was launched after he was contacted by the local
           authorities about an IP address listed on the Grizzly Steppe report. 130
      •    Goederich confirms that he has received over 400,000 abuse notifications over the past seven years
           but cannot comment on whether or not they were all checked. 131 Based on our experience, not
           knowing how many abuse notifications were investigated is an abnormal practice and further
           illustrates that XBT does not apparently care what activity is originating from their network. Our
           experience is that web hosting companies have automated work flows so that all abuse
           notifications are reviewed and closed.
  Based on this deposition, TOR Exit notes and services are used on Root S.A. infrastructure, and it had been
  brought to their attention multiple times by law enforcement and through abuse notifications. 132 TOR
  networks can be used to anonymize illegal activities, such as buying and selling of drugs. These networks
  can also be vectors for cyber attacks.133 Goederich stated in testimony that he does not know that “TOR
  networks anonymizes” its users, which is a confusing statement given his response to law enforcement
  when contacted about an IP address in the Grizzly Steppe. 134 Analysis performed by private security firm
  HackTarget showed that in 2013 Root S.A. has the second highest concentration of Tor Exit nodes for
  Internet Providers based on the ASN netblock. 135 136


  Public Reputation Related to Malicious Cyber Activity
  In addition to directly providing web-hosting services, XBT appears to lease sections of their
  infrastructure to other web-hosting companies. Many of these lessee companies are reportedly tied to
  malicious cyber activity. FTI reviewed approximately 75 entities either owned by XBT or using ASNs owned
  by XBT in order to identify adverse information, including whether XBT customers were named as conduits
  for malware or malicious or criminal cyber activity. FTI found credible sources naming XBT affiliates as
  being involved in adverse, malicious or criminal activity. Those entities included companies owned by XBT
  (e.g. Webzilla) and companies that lease technical infrastructure from XBT (e.g., McHost and CubeHost).
  FTI also identified reporting on Internet technology blogs and other similar outlets that cited entities leasing
  IP blocks owned by XBT as supporting malicious cyber activity.




  129 Bezruchenko Dep. 54:6.
  130 Goederich Dep. 160:1.
  131 Goederich Dep. 227:2 – 227:12.
  132 Goederich Dep. 157:14,22,25 158:5 159:2,3,11 163:14 164:1,14,18 165:5,14,15,21 166:8,14,16,23 167:4,8 182:15 -
  183:191:2,6,19,25 192:7,9 207:22,25208:10 218:12 219:15 220:8,10,14,25 221:3,7 230:19.
  133 https://www.recordedfuture.com/monitoring-tor-exit-nodes/
  134 Goederich Dep. 167: 1.
  135 https://hackertarget.com/tor-exit-node-visualization/
  136 Use open source tools and network intelligence to help organizations with attack surface discovery and identification of
  security vulnerabilities.


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       Entity             Entity Type                                Adverse High Level Summary
   1-800-              Web hosting               Cited in August 2008 by the Dallas Morning News as a company
   HOSTING, Inc.                                 under investigation by the Russian government for hosting
   (“1-800-                                      websites linked to two Russian cyber criminals. 137 The Russian
   Hosting”),                                    government reportedly sought assistance from U.S. Secret
   now Webzilla                                  Service officials in Dallas in obtaining additional information on
   Dallas, Inc.                                  1-800-Hosting. Specifically, Russian authorities reportedly were
   (XBT)                                         investigating allegations the company hosted websites
                                                 controlled by Russian citizens Ivanin Maxim Andreevich and
                                                 Krasov Alexander Igorevich, who reportedly embedded viruses
                                                 on websites used to capture and exploit victim banking
                                                 information. 138 The Dallas Morning News appears to be the sole
                                                 media outlet that covered this investigation and its outcome is
                                                 unknown. 139

                                                 Cited in a February 2008 report by Shadowserver Foundation
                                                 (“Shadowserver”), a non-profit volunteer organization that
                                                 gathers, tracks and reports on malicious software, botnet
                                                 activity and electronic fraud. 140 Shadowserver reportedly
                                                 reviewed 80 domain names associated with spyware, phishing
                                                 and other malicious activity and suggested further investigation
                                                 into 1-800 Hosting’s ASNs. 141 It is unclear whether Shadowserver
                                                 pursued any additional investigation into 1-800-Hosting. FTI
                                                 notes this activity pre-dates XBT’s acquisition of 1-800-Hosting.
                                                 XBT acquired the company in November 2012. 142
   Fozzy Inc.          Web hosting               According to the McClatchy DC Bureau, fozzy.com is a site “used
   (XBT)                                         to heavily host pornography.” 143
   WZ                  Web hosting               Named in six Host Exploit “Top 50 Bad Hosts” reports between
   Communicati                                   2010 and 2012 as a botnet command-and-control server. 144
   ons Inc. (XBT)                                Consecutively ranked #15, #26, #30 and #31 on Host Exploit’s list
                                                 of Top 50 hosting companies with highest observed
                                                 concentrations of malicious activity. 145
   Webazilla           Web hosting               Named in Host Exploit “World Hosts Report” in March 2014 as
   (XBT)                                         hosting Zeus botnets. 146 Cited by Dutch reporter Karen Spaink
                                                 in February 2008 as hosting child pornography. Spaink
                                                 examined several Dutch websites on the National Police Forces
                                                 blacklist and found that almost all the sites were openly hosted
                                                 through two providers, Webazilla and Leaseweb. According to




  137 “The Dallas-Russia axis of evil online fraud (allegedly),” DallasNews.com, August 11, 2008.
  138 Ibid.
  139 DallasNews.com is the online website for the Dallas Morning News newspaper.
  140 https://www.shadowserver.org
  141 www.shadowserver.org/wiki/uploads/Information/RBN_Rizing.pdf
  142 http://www.marketwired.com/press-release/xbt-holding-ltd-acquires-1-800-hosting-inc-1724402.htm 1/
  143 www.mcclatchydc.com/news/nation-world/national/article125910774.html
  144 http://hostexploit.com/?p=reports
  145 Ibid.
  146 Ibid.


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        Entity               Entity Type                               Adverse High Level Summary
                                                   the KLPD both Webazilla and Leaseweb hosted child
                                                   pornography. 147
   Webzilla            Web hosting                 Cited in a March 2016 report submitted to the U.S. Copyright
   (XBT)                                           Office Library of Congress regarding music pirating and violations
                                                   of the Digital Millennium Copyright Act (“DMCA"). 148 In the
                                                   report, Webzilla is cited as a hosting company refusing to
                                                   terminate service with their customers despite receiving
                                                   thousands of notices of infringement attributable to their
                                                   subscribers' accounts. 149
   McHOST              Web hosting                 According to TrendLabs Security Intelligence Blog, McHost is a
   (customer)                                      Russian web-hosting company that is purportedly “very friendly
                                                   with Russian/Ukrainian cyber criminals” and described as a
                                                   “criminal haven for Russian/Ukrainian cyber criminals.” 150
   CUBEHOST            Unknown, likely             Named in a Krebs on Security article as a dormant site registered
   (customer)          web hosting                 to Artem Tveritinov, CEO of Infocube, an anti-virus information
                                                   security company that is allegedly a “minor partner” of
                                                   Kaspersky Labs. The phone numbers listed in the domain name
                                                   registration for cubehost.biz are two Chinese phone numbers
                                                   traced back to other domains seen launching malware.
                                                   Tveritinov's company is also accused of spreading malicious
                                                   software used to steal banking information. 151
   Colo4, LLC          Colocation/Cloud            Named in a Krebs on Security article as one of numerous
   (customer)          Computing                   companies with networks “shown to have been phoning home
                                                   to some of the same control infrastructure that was used in
                                                   RSA attack.” 152 FTI notes that several large companies are on
                                                   the list, including Motorola, eBay, IBM, Research in Motion, and
                                                   that not every company on the list may be culpable.

  Host Exploit Reports
  FTI also reviewed all Host Exploit “Top-50 Bad Hosts and Networks” reports published online from
  December 2010 to March 2014 that rank web-hosting companies by concentration of malicious activity. 153
  XBT subsidiaries Webazilla, Webazilla BV and WZ Communications are cited in these reports as known
  hosts of malicious activity; operators of botnet and command-and-control servers; and hosts of high
  levels of Zeus botnet activity. 154 155 Between 2010 and 2012, WZ Communications ranked between 15 and




  147 “Child pornography: fight it or hide it?” Het Parool, February 19, 2008.
  148 https://www.riaa.com/wp-content/uploads/2016/03/Music-Community-Submission-in-re-DMCA-512-FINAL-7559445.pdf
  149 Ibid.
  150 http://blog.trendmicro.com/trendlabs-security-intelligence/unscrupulous-russian-cyber-criminals-attempt-to-capitalize-on-
  grisly-death/


  153 http://hostexploit.com/?p=reports. Note that Host Exploit only published reports from December 2010 and March 2014 online.
  It is unclear if there are additional reports that pre-date or post-date these reports.
  154 “A form of botnet delivered via a Trojan payload. Zeus has been continually improved, with its many variations proving to be
  adept at bypassing security systems and gathering large networks of zombie machines,” per Host Exploit.


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  31 on Host Exploit’s list of Top-50 “bad” hosting companies and was cited as a command-and-control server
  for malicious botnets. Hosting companies are ranked by the concentration of malicious activity, or what
  Host Exploit refers to as the “HE Index.” 156 The HE Index is the organization’s method of assigning a value
  to the reputations of Autonomous Systems linked to cybercrime. Host Exploit reportedly was one of the
  first organizations to highlight 2008 Russian cyber attacks on the nation of Georgia and also to expose
  cybercriminal webhosts McColo and EstDomains. 157
  Based on FTI’s analysis of all available Host Exploit reports, the following negative information was
  developed for Webazilla and WZ Communications:

                                                                                                     Cited as
                                          Top 50 "Bad                                                                      Cited as
                                                                                                      Botnet
     Report                                 Host" HE                                                                         Zeus
                        XBT entity                              Country               IPs           command-
   Year/Edition                             Ranking                                                                        Botnets
                                                                                                   and-control
                                           (out of 50)                                                                      (Y/N)
                                                                                                   Server (Y/N)
   World Hosts        Webazilla           #29                Netherlands        77,056             N                   Y
   Report             B.V.
   March 2014
   Top 50 Bad         Webazilla           #21                Cyprus             63,488             N                   N
   Hosts and
   Networks
   2nd Quarter
   2012
   Top 50 Bad         WZ                  #15                U.S.               13,056             Y                   N
   Hosts and          Communicat
   Networks           ions Inc.
   1st Quarter
   2012
   Top 50 Bad         Webazilla           #28                Ukraine            61,440             N                   N
   Hosts and
   Networks
   1st Quarter
   2012
   Top 50 Bad         WZ                  #30                U.S.               9,216              Y                   N
   Hosts and          Communicat
   Networks           ions Inc.
   4th Quarter
   2011
   Top 50 Bad         WZ                  #26                U.S.               9,216              Y                   N
   Hosts and          Communicat
   Networks           ions Inc.




  155 The Webazilla infrastructure (including ASN) was rolled into the Webzilla infrastructure in 2010. To date, public IP registration
  information still references the entity as “Webazilla.”
  156 http://hostexploit.com/?p=report. Host Exploit is an open-source community and non-profit organization dedicated to
  cybercrime research with a focus on hosts and registrars.
  157 http://hostexploit.com/


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                                                                            Cited as
                                     Top 50 "Bad                                             Cited as
                                                                             Botnet
     Report                            Host" HE                                                Zeus
                       XBT entity                     Country       IPs    command-
   Year/Edition                        Ranking                                               Botnets
                                                                          and-control
                                      (out of 50)                                             (Y/N)
                                                                          Server (Y/N)
   3rd Quarter
   2011

   Top 50 Bad        WZ              #31            U.S.        8,960     Y              N
   Hosts and         Communicat
   Networks          ions Inc.
   2nd Quarter
   2011
   Top 50 Bad        WZ              N/A            U.S.        8,960     Y              N
   Hosts and         Communicat
   Networks          ions Inc.
   1st Quarter
   2011
   Top 50 Bad        WZ              N/A            U.S.        7,936     Y              N
   Hosts and         Communicat
   Networks          ions Inc.
   4th Quarter
   2010




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  Conclusions
  XBT and its affiliated web hosting companies have provided gateways to the internet for cybercriminals and
  Russian state sponsored actors to launch and control large scale malware campaigns over the past
  decade. 158
  Data provided by Bitly indicates that an XBT affiliate owned infrastructure was used to support the
  malicious spear phishing attack of Democratic Party leadership in 2016 which resulted in the theft and
  subsequent publication of highly sensitive information related to the Hillary Clinton presidential campaign.
  Technical analysis of XBT infrastructure and U.S. government issued reports on Russian cyber espionage
  tactics indicates that IP addresses owned by XBT were utilized by Russian civilian and military intelligence
  services (RIS) to compromise and exploit networks and endpoints associated with the 2016 U.S. election.
  Additionally, evidence suggests that COZY BEAR and FANCY BEAR, the Russian government affiliated APT
  groups responsible for hacking the Democratic Party leadership, have used XBT infrastructure to support
  other malicious activity.
  Reputable private security firms have listed XBT infrastructure in a number of independent reports relating
  to high profile malware campaigns, including attacks by Russian state actors. Those reports suggest XBT
  infrastructure has been used to propagate malware, to attack the Ukrainian power grid, to engage in spear
  phishing attacks, to deliver ransomware, to launch online advertising click-fraud theft schemes, and to host
  botnets. Additionally, XBT has a public reputation for hosting malicious cyber activity. Media research
  evidences multiple affiliates as being involved in adverse, malicious or criminal activity. More specifically,
  XBT subsidiaries Webazilla, Webazilla BV and WZ Communications are cited in reputable publications as
  known hosts of malicious activity; operators of botnet and command-and-control servers; and hosts of high
  levels of Zeus botnet activity.




  158 Refer to Exhibit 25


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  FTI’s findings illustrate a pattern that XBT infrastructure has been a resource for cybercriminals to launch
  attacks without fear of repercussion, including specifically cybercriminals engaging in Russian state
  sponsored malicious activities. Based on documentation produced during discovery and deposition
  transcripts, Gubarev and other XBT executives do not appear to actively prevent cybercriminals from using
  their infrastructure. Minimal, if any, investigations were performed by XBT when their infrastructure was
  cited in high profile government or private security firm reports. For example, the first email
  correspondence from XBT executives about the Root. S.A owned IP addresses noted in the Grizzly Steppe
  report was sent in September 2017, almost nine months after the report was published.
  Executed on the 25th day of May, 2018.




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  FTI Consulting, Inc.
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  Overview of Exhibits
     Exhibit ID                                         Exhibit Description
   Exhibit 1          Curriculum vitae of Anthony J. Ferrante
   Exhibit 2          ASN Overview Technical Support
   Exhibit 3          CrowdStrike Report: Bears in the Midst: Intrusion into the Democratic National
                      Committee
   Exhibit 4          Bitly WarRoom Presentation about Democratic Party Spear Phishing Attack
   Exhibit 5          Bitly Audit Log Data
   Exhibit 6          Technical Evidence to support the SSL Connection
   Exhibit 7          JAR-16-20296A - GRIZZLY STEPPE – Russian Malicious Cyber Activity and Published IOCs
   Exhibit 8          Grizzly Steppe Technical Support
   Exhibit 9          WhiteOps Report: The Methbot Operation
   Exhibit 10         Methbot IOCs Published by Methbot
   Exhibit 11         ICS-ALERT-17-206-01 - CRASHOVERRIDE Malware
   Exhibit 12         ESET Report: WIN32/INDUSTROYER - A new threat for industrial control systems
   Exhibit 13         F-Secure Report: COSMICDUKE Cosmu with a twist of MiniDuke
   Exhibit 14         Kaspersky Lab Report: Unveiling “Careto”-The Masked APT
   Exhibit 15         ESET Report: OPERATION POTAO EXPRESS - Analysis of a Cyber-Espionage Toolkit
   Exhibit 16         Sedreco Technical Connections
   Exhibit 17         ESET Report: En Route with Sednit
   Exhibit 18         Swiss Government Computer Emergency Response Team (i.e. Gozi)
   Exhibit 19         Cisco Talos Report: Rigging compromise - RIG Exploit Kit
   Exhibit 20         Damballa Report: PonyUp - Tracing Pony’s Threat Cycle and Multi-Stage Infection Chain
   Exhibit 21         Kaspersky Lab Report: DarkHotel Indicators of Compromise
   Exhibit 22         DarkHotel Technical Connections
   Exhibit 23         Nitro Technical Connections
   Exhibit 24         Palo Alto Networks Report: New Indicators of Compromise for APT Group Nitro
                      Uncovered
   Exhibit 25         Trustwave Report: New Carbanak / Anunak Attack Methodology
   Exhibit 26         XBT Timeline of Malicious Cyber Activity
   Exhibit 27         Dragos Report: CRASHOVERRIDE Analysis of the Threat to Electric Grid Operations




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